Case 2:04-cr-20481-SH|\/| Document 15 Filed 04/25/05 Page 1 of 2 Page|D 17

UNITED STATES DISTRICT COURT ' ;’ W
WESTERN D]STRICT OF TENNESSEE __ f _l ii _
Western Division " `

UNITED STA'I`ES OF AMERICA

      

L;TF

-vs- ' Case No. 2:04cr20481-Ml

MARCUS BUFORD

 

ORDER OF DETENTION PEND|NG TR|AL
FlNDlNGS
ln accordance With the Bail Ret`onn Act, l 8 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECTlONS REGARD|NG DETENTION

MARCUS BUFORD is committed to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. MARCUS BUFORD shall be afforded a reasonable opportunity for private
consultation with defense counsel On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection With a Court proceeding

Date: April 22, 2005 `

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

This dominant entered on the docket she t in "o%mgallaonce
with Rule 55 and/or 32fbl FRCrP on 5 " é_. _ §

   

UNITD sATE IsTRIC COURT - ESTERN DIsITRCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CR-20481 Was distributed by faX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

 

Handel R. Durham
DURHAM & ASSOCIATES
100 North l\/lain St.

Ste. 2601

l\/leniphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/leniphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

